76 F.3d 377
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Terry Fitzgerald ZIMMERMAN, Plaintiff-Appellant,v.J.V. TURLINGTON, Administrator;  R. Futrell, Superintendent;George Fullwood, Instructor, Defendants-Appellees.
    No. 95-7369.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 18, 1996.Decided Feb. 1, 1996.
    
      Terry Fitzgerald Zimmerman, Appellant Pro Se.
      Before HAMILTON and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm substantially on the reasoning of the district court.   Zimmerman v. Turlington, No. CA-95-666-5-BO (E.D.N.C. Aug. 25, 1995).  See also Inmates v. Owens, 561 F.2d 560, 562-63 (4th Cir.1977) (inmate must claim that he personally sustained deprivation of a right to state a § 1983 claim).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    